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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

UNITED STATES OF AMERICA

v.                                                  Case No. 8:04-cr-562-T-30MAP

JORGE LUIS BLANCO-PULGARIN
____________________________________

                                          ORDER

       This cause came on for consideration without oral argument upon Petitioner’s Motion

to Intervene and Defend (Dkt. #139), Petitioner’s Motion for Return of Property (Dkt. #140),

and the Government’s Response (Dkt. #143) thereto. Petitioner seeks the return of his seized

property, to wit:

       $1,000 in U. S. Currency
       One watch
       Personal belongings
       Colombia IDs

After review, the Court determines that the Petition should be granted as to the watch,

personal belongings and Colombia IDs and denied as to the U. S. currency.

       In November, 2004, a federal grand jury charged JORGE LUIS BLANCO-

PULGARIN (“Blanco-Pulgarin”) with two drug offenses while on board a vessel subject to

the jurisdiction of the United States in violation of 46 App. U.S.C. §§ 1903(a)&(g), 18

U.S.C. § 2, and 21 U.S.C. § 960(b)(1)(B)(ii). The indictment included forfeiture allegations

for all proceeds of the conspiracy as well as property used or intended to be used to facilitate
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the commission of the conspiracy. Specifically, the indictment alleged the property sought

to be forfeited as being $3,500 in U. S. Currency and 50,020 Colombian Pesos.

       On December 10, 2004, the Government filed a Bill of Particulars alleging that

$13,280 U. S. Currency and 541,126 Colombian Pesos found on board the boat were subject

to forfeiture and formed the basis of the allegations set forth in the forfeiture section of the

indictment. These amounts included all U. S. Currency and Colombian Pesos found on the

boat and the five (5) defendants. On December 22, 2004, the United States filed a Notice of

Essential Elements, Penalty, and Factual Basis as to all defendants that had been aboard the

vessel, stating that the defendants were observed by the U. S. Coast Guard throwing bales

of cocaine into the ocean. The Factual Basis further stated that, upon boarding the vessel,

the United States Coast Guard recovered approximately sixty-two (62) bales of cocaine,

weighing approximately 1550 kilograms, $13,280 in U. S. Currency found on the boat,

541,126 Colombian Pesos, and various electronic equipment. On January 13, 2005,

Defendant Blanco-Pulgarin pled guilty in open Court to both counts of the indictment, and

on February 1, 2005, the Court accepted his plea and rendered an adjudication of guilty.

       On March 25, 2005, the United States filed a motion for preliminary order of

forfeiture as to Defendant Blanco-Pulgarin and his co-defendants seeking a forfeiture of all

currency and various electronic equipment. Defendant Blanco-Pulgarin did not oppose or

respond to the Order for preliminary order of forfeiture. On March 28, 2005, the District

Court entered a preliminary order of forfeiture as to $13,280 in U. S. Currency, 541,126



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Colombian Pesos, and various electronic equipment, forfeiting Defendant Blanco-Pulgarin’s

right, title and interest in those assets.

       On April 28, 2005, Defendant Blanco-Pulgarin was sentenced to fifty-seven (57)

months’ incarceration. The Judgment also incorporated the preliminary order of forfeiture

as the final order of forfeiture as to Defendant Blanco-Pulgarin. Defendant Blanco-Pulgarin

did not appeal the preliminary order of forfeiture or the Final Judgment.

       On August 5, 2005, Defendant Blanco-Pulgarin filed the instant motions (Dkts. #139,

#140) for return of a portion of the currency, to wit: $1,000 in U. S. Currency, one watch,

personal belongings, and his Colombian IDs. In his motions, Defendant Blanco-Pulgarin

argues that the seized property was not specifically listed in the indictment and that he had

not been notified of any forfeiture action.

       To the contrary, Defendant Blanco-Pulgarin was notified many times of the

Government’s intent to seek forfeiture of the U. S. Currency. Notice was included in the

indictment, Bill of Particulars, Motion for Preliminary Order of Forfeiture, and was

addressed by the Court at his sentencing. Any objections he had to the forfeiture of the

currency should have been made upon the entry of the motion for preliminary order of

forfeiture, or at sentencing when the preliminary order of forfeiture became final as to his

interest. If his rights were violated in some manner, Blanco-Pulgarin should have addressed

the issue in a timely notice of appeal. Blanco-Pulgarin was advised at sentencing that he had

ten (10) days within which to file his notice of appeal. He chose not to file an appeal. It is



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now inappropriate for this Court to exercise jurisdiction to review a forfeiture matter that is

now final. See United States v. Eubanks, 169 F.3d 672 (11th Cir. 1999).

          The Government does not oppose the request of Blanco-Pulgarin to have his watch,

personal belongings1 and Colombia IDs returned. Therefore, this Court exercises equitable

jurisdiction over Defendant’s motions (Dkts. #139, #140) and directs the Government to

return the watch, personal belongings and Colombia IDs to Blanco-Pulgarin within thirty

(30) days of the date of this Order. In all other respects, the motions of Blanco-Pulgarin are

DENIED.

          DONE and ORDERED in Tampa, Florida on August 16, 2005.




Copies furnished to:
Counsel/Parties of Record
F:\Docs\2004\04-cr-562.Return Property Pulgarin.wpd




          1
          The Defendant’s claim for the return of “personal belongings” is vague. However, the
United States has agreed to return any seized property of the Defendant’s that was not previously
forfeited.

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